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_ December 12, 2011

BY E-FILE AND HAND DELIVERY - GEE
The Honorable Leonard P. Stark i
United States District Court

844 N. King Street PUBLIC VERSION

Wilmington, Delaware 19801
Re: Cooper Notification, Inc. v. Federal Signal Corp., et al., C.A. No. 09-865-LPS

Dear Judge Stark:

Federal Signal Corp, (“Federal Signal”) submits this letter as its motion for sanctions
against Plaintiff Cooper Notification (“Cooper”) for improperly preparing Rule 30(b)(6)
witnesses and designating witnesses for 30(b)(6) deposition topics who admittedly were not
prepared on many topics, Defendants seek their costs and fees associated with preparing for,
traveling to, and taking a required additional deposition. Defendants also seek the option, if
needed, to take a 30(b)(6) deposition prior to trial to authenticate any of Cooper’s documents
because, despite Cooper twice having designated purportedly prepared witnesses, neither of
Cooper’s 30(b)(6) designees was prepared to do so. .

Cooper’s Failure to Produce Knowledgeable Rule 30(b)(6) Deponents

Defendants noticed, prepared for, and traveled to New York to take the 30(b)(6)
deposition of Cooper on various topics. (Ex. A and B.) Cooper designated its Vice President of
Marketing, Mr. Milburn, on topics 11, 12, 14, 15, 21, 23, 24, 26, and 28, which include the facts
related to Defendants’ on-sale bar and public use and disclosure defenses (Topic !1),
competition from 2007 to the present (Topic 12) and financial information (Topic 28). Mr. .
Milburn, who started working for Cooper in January of 2010 and had almost no independent
knowledge about these topics, should have spoken with the inventors and founders of Roam

Secure, Inc.! and Cooper’s employees to prepare. However, QD

     
    
 

 
  

 

For example, during the deposition and after a break, Mr. Milburn asked QD

 

! As the Court will recall Cooper purchased Roam Secure Inc., which developed and sold the
REACT (later named RSAN) product.

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However, the witness could not

explain why that document prompted the clarification, (Ex. C at 74:10-75:18.) When pressed on
the issues, it was clear that Mr. Milburn was simply parroting what the attorneys told him to say
under oath without any independent factual information, (/d. at 77:5-79:5.) Similarly, Mr.
Hearn

  

 
 

Towards the end of Mr. Milburn’s deposition, Cooper admitted that the witness was not
prepared for Everbridge’s Topics 11, 18, and 30 and withdrew the witness from those topics and
agreed to provide another witness. (Ex. C at 161:14-163:18.) These topics include Federal
Signal’s Topics 11 and 28.

Mr. Milburn was also designated to testify on Federal Signal’s 30(b)(6) Topic No. 12
relating to competition from 2007 to the present. However,

Se Despite these admissions, Cooper refused to provide another

witness to cover topic 12 from 2007 to January 2010. (Ex. F at Par. 10.) Mr. Milburn was also
designated to testify on Topic No. 23 covering document collection. (Ex. G.) However, >

     
 
  
 
  

  

GHD Cooper then agreed to provide another witness, David Drescher, on Cooper’s
document collection in this case. (Ex. H at Par. 9.) When Defendants flew out to California to

take Mr, Drescher’s deposition, including Topic No. 23, Mr. Drescher ED

Defendants were entitled to depose knowledgeable corporate representatives about the
facts for each topic and not simply to receive litigation counsel’s conclusions without the ability
to test the factual support underlying their testimony. See In re Neurontin Antitrust Litig., 2011
USS, Dist. LEXIS 6977, at *34-37 (D.N.J. Jan. 24, 2011) (finding a corporation has a duty to
fully educate a witness and not merely regurgitate counsel’s position). A corporation has a duty
to designate a Rule 30(b)(6) witness who is prepared to give binding answers on its behalf. See
Penn Mut. Life Ins. Co. v. Rodney Reed 2006 Ins. Trust, 2011 U.S. Dist. LEXIS 46825, at *4 (D.
Del. Apr. 25, 2011). The failure to provide a prepared witness constitutes a violation of Rule
37(d). Fed. R. Civ. P. 37(d); see also Black Horse Lane Assoc., L.P. v. Dow Chem. Corp., 228
F.3d 275, 304 (3d Cir. 2000) (“[WJhen a witness is designated by a corporate party to speak on
its behalf pursuant to Rule 30(b)(6), ‘producing an unprepared witness is tantamount to a failure
to appear’ that is sanctionable under Rule 37(d).”).

 

? Rule 37(d) further specifies that a refusal to designate a witness cannot be excused on the
ground that the discovery is objectionable “unless the party failing to act has a pending motion
for a protective order as provided by Rule 26(c).” A corporation must either designate a witness

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Accordingly, Federal Signal seeks sanctions for having to attend the depositions of
unprepared witnesses. Counsel will subsequently provide documentation and declarations to
support and itemize any award of fees and costs, including those related to bringing this Motion.

Respectfully submitted,

/s/ James L, Higgins
James L. Higgins (No. 5021)
JLH: Enclosures

ce: Clerk of the Court
Phillip Rovner, Esquire (via e-mail)

 

or move for a protective order with respect to each topic of a Rule 30(b)(6) deposition notice.
See, ¢.g., Ferko v. National Ass’n for Stock Car Auto Racing, Inc., 218 F.R.D. 125, 142 (B.D.
Tex. 2003). It does not matter that a party has served objections to Rule 30(b)(6) topics, because
Fed. R. Civ. P. 37(d) provides that the only manner of objecting to a Rule 30(b)(6) notice is to
move for a protective order pursuant to Rule 26(c). Jd. Cooper never filed a protective order
with respect to any of the Rule 30(b)(6) topics, and therefore its failure to provide prepared
designated corporate witnesses to testify as to topics, such as 11, 12, 23, 24 and 28 is
“inexcusable under the Federal Rules of Civil Procedure.” Jd. at 144.

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